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       EXHIBIT 15
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   August 11, 2017-Several hundred people carrying tiki torches chant, "You will not replace us" and "Jews will
   not replace us," as they march toward the Rotunda at the University of Virginia. (Hawes Spencer)                             James Alex Fields Jr. (left), one of the first people to arrive in Emancipation Park, strikes up a conversa_tion
                                                                                                                                and then chants alt-right slogans with Nigel Krofta of Charleston, South Carolina, who would lose his Job as a
                                                                                                                                welder on Monday. (Hawes Spencer)




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 August 11, 2017-Self-described racist podcaster Christopher Cantwell leads torch-carrying men toward the
 UVA Rotunda. Cantwell would later be arrested for discharging a chemical irritant. (Stephanie Keith)                           Michael Tubbs brings a contingent of the League of the South to Charlottesville. Tubbs previously spent about
                                                                                                                                four years in prison for stealing military guns and explosives in a sche_me that allegedly included plotting
                                                                                                                                against businesses with Jewish and African American owners. (Ian Reid)




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